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 1   DINA L. SANTOS
     A Professional Law Corporation
 2   State Bar No. 204200
     428 J Street, Suite 359
 3   Sacramento, CA 95814
     Telephone: (916) 447-0160
 4   Facsimile: (916) 447-2988
 5
     Attorney for Defendant
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 8
                          IN THE UNITED STATES DISTRICT COURT
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                  IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
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12
     UNITED STATES OF AMERICA,                     )       CRS 11-323 JAM
13                                                 )
                    Plaintiff,                     )
14                                                 )       ORDER FOR WAIVER OF
                                                           DEFENDANT’S
15   v.                               )                    PRESENCE
                                      )
16   WILLIAM BOHAC                    )
                                      )
17              Defendant             )
                                      )
18   ________________________________ )
19
20           The defendant, WILLIAM BOHAC, hereby waives his right to be present in open court
21   upon the hearing of any motion or other proceeding in this cause, including, but not limited to,
22   when the case is ordered set for trial, when a continuance is ordered, and when any other action is
23   taken by the court before or after trial, except upon arraignment, plea, impanelment of a jury and
24   imposition of sentence. Defendant hereby request the court to proceed during every absence of
25   him which the court may permit pursuant to this waiver; agrees that his interest will be deemed
26   represented at all times by the presence of his attorney, the same as if the defendant were
27   personally present; and further agrees to be present in court ready for trial any day and hour the
28   court may fix in his absence.
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 1          Defendant further acknowledges that he has been informed of her rights under Title 18
 2   U.S.C. Section 3161 - 3174 (Speedy Trial Act), and has authorized his attorney to set times and
 3   delays under the provisions of that Act without defendant being present.
 4
     Dated: October 3, 2011                              /s/ William Bohac
 5                                                       WILLIAM BOHAC
                                                         Client
 6
     Dated: October 3, 2011                              /s/ Dina L. Santos
 7                                                       DINA L. SANTOS
                                                         Attorney for William Bohac
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 9
10
                                                  ORDER
11
12          It is so ordered.
13
     Dated: October 4, 2011                              /s/ John A. Mendez
14                                                       Hon. John. A. Mendez
                                                         U.S. District Court Judge
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